                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           DOCKET NO. 3:09-cr-00169-FDW
 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  )
                                                    )
 vs.                                                )
                                                    )                 ORDER
 HERBERT ANTHONY BINES,                             )
                                                    )
        Defendant.                                  )
                                                    )
                                                    )

       THIS MATTER is before the Court on Defendant’s Motion for Compassionate Release

(Doc. No. 30). While this motion was pending, Defendant was released from the custody of the

Bureau of Prisons. (Doc. No. 35; see also https://www.bop.gov/inmateloc/ visited 12/1/2021).

After reviewing the relief requested by Defendant in his motion pursuant to 18 U.S.C. §

3582(c)(1)(A)(i), and his specific arguments asserted in support thereof (Doc. Nos. 30, 31), the

Court DENIES AS MOOT Defendant’s motion.

       IT IS THEREFORE ORDEREED that Defendant’s Motion for Compassionate Release

(Doc. No. 30) is DENIED AS MOOT.

       IT IS SO ORDERED.

                                    Signed: December 1, 2021




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